Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No: 21-cv-1708-WJM-MDB


   ESTATE OF CHAD ALEXANDER BURNETT,

          Plaintiff,

   v.

   CITY OF COLORADO SPRINGS, a municipality;
   SERGEANT MICHAEL INAZU, in his individual capacity;
   OFFICER JOSEPH DAIGLE, in his individual capacity;
   OFFICER MATTHEW FLEMING, in his individual capacity; and
   OFFICER CAROLINE BARTH, in her individual capacity,

          Defendants.



              OPPOSED Fed. R. Evid. 702 MOTION TO EXCLUDE AND LIMIT THE
                       TESTIMONY OF EXPERT STEVEN B. BIRD


          Defendants move pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow

   Pharm., Inc., 509 U.S. 579 (1993) to exclude and limit the testimony of Steven B. Bird, M.D.

   Certification Pursuant to D.C.COLO.LCivR 7.1(a)

          The undersigned has conferred with counsel for Plaintiff and is authorized to state the

   Plaintiff opposes the motion.

   I.     Introduction

          Dr. Bird opines:

          •    “Mr. Burnett certainly developed tremendously elevated concentrations of
               norepinephrine and epinephrine, placing him at risk for sudden death.” Exhibit
               A, Report of Steven B. Bird, M.D, p. 5.
Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 2 of 7




          •   “By virtue of the restraint by the officers and the decreased ventilatory
              capability, Mr. Burnett was unable to maintain pCO2 and pH within values
              needed to avoid cardiac arrest.” Exhibit A, p. 6

          •   “The physical exertion of Mr. Burnett during his active whole-body restraint
              and beating by the officers certainly met or exceeded the exertion in these
              clinical studies.” Exhibit A, p. 6.

          •   “A metabolic acidosis due to his restraint and struggle killed Mr. Burnett.”
              Exhibit A, p. 8

          Because his opinions fail to comply with Rule 702 of the Rules of Evidence, they should

   be excluded.

   II.    Argument

          Rule 702 of the Rules of Evidence states an expert may provide opinion testimony when:

          (a) the expert’s scientific, technical, or other specialized knowledge will help the
          trier of fact to understand the evidence or to determine a fact in issue;
          (b) the testimony is based on sufficient facts or data;
          (c) the testimony is the product of reliable principles and methods; and
          (d) the expert has reliably applied the principles and methods to the facts of the
          case.

   Id. Because Dr. Bird’s opinions fail to meet (b)-(d), the opinions fail (a).

          As a gatekeeper, the Court’s role is to “assess the reasoning and methodology underlying

   the expert’s opinion, and determine whether it is both scientifically valid and applicable to a

   particular set of facts.” Dodge v. Cotter Corp., 328 F.3d 1212, 1221 (10th Cir. 2003). Plaintiff, as

   the proponent, must shoulder the burden to show the expert testimony is admissible under Rule

   702 and meets the standards under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

   (1993). See In re Breast Implant Litig., 11 F. Supp. 2d 1217, 1222 (D. Colo. 1998).

          “To be reliable under Daubert, an expert’s scientific testimony must be based on scientific

   knowledge, which ‘implies a grounding in the methods and procedures of science’ based on actual

   knowledge, not ‘subjective belief or unsupported speculation.’” Dodge, 328 F.3d at 1222 (quoting


                                                     2
Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 3 of 7




   in part Daubert, 509 U.S. at 592-93); see also First Specialty Insurance Corp. v. Ward North

   America Holding, Inc., 2006 WL 6225115, at *1 (D. Kan. 2006) (“All proffered expert testimony

   must be properly grounded, well-reasoned, and not speculative before it may be admitted.”).

   “Conjectures that are probably wrong are of little use, however, in the project of reaching a quick,

   final, and binding legal judgment—often of great consequence—about a particular set of events in

   the past.” Daubert, 509 U.S. at 597.

          To show an opinion is reliable, a plaintiff “must show the method employed by the expert

   in reaching the conclusion is scientifically sound and that the opinion is based on facts which

   sufficiently satisfy Rule 702’s reliability requirements.” Mitchell v. Gencorp, Inc., 165 F.3d 778,

   781 (10th Cir. 1999).

          In his expert report, Dr. Bird describes, during a strenuous activity, a process where

   “epinephrine (also known as adrenaline) and norepinephrine” are released. Exhibit A, p. 5. “At the

   same time, there is constriction of the coronary arteries with reduction of blood flow, and therefore

   oxygen, to the heart muscle.” Id. Dr. Bird opines “concentrations may reach ten-fold higher than

   base concentrations.” Id. “During physical activity, blood potassium also increases.” Id. “Elevated

   levels of norepinephrine and epinephrine . . . neutralize the arrhythmogenic potential of . . .

   elevated blood potassium.” Id. According to Dr. Bird, another condition, hypokalemia, reduction

   of blood potassium “can drop dramatically” as well. Id. Dr. Bird concludes “Mr. Burnett certainly

   developed tremendously elevated concentrations of norepinephrine and epinephrine, placing him

   at risk for sudden death.” Id. Dr. Bird concluded Mr. Burnett “certainly” developed “tremendously

   elevated” concentrations of norepinephrine and epinephrine without knowing Mr. Burnett’s

   norepinephrine and epinephrine levels at any point before (Mr. Burnett’s base concentrations),




                                                    3
Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 4 of 7




   during or after the struggle with the officers.1 Nor does Dr. Bird describe how exertive or extensive

   a “struggle” would need to be; how long it would take for elevated concentrations of

   norepinephrine and epinephrine to be present; when those values become “elevated[;]” or

   “tremendously elevated.” Id. The same is true for the possibility of hypokalemia. Dr. Bird opines

   blood potassium “can drop dramatically.” He does not describe the particular circumstances when

   hypokalemia can occur or identify the corresponding blood potassium values which can drop so

   “dramatically” as to be defined as hypokalemic. Most critically, he does not possess any blood

   potassium values which would show that Mr. Burnett experienced hypokalemia. Dr. Bird’s

   opinions on the chemical makeup of Mr. Burnett and the effects on his health are pure speculation

   and not grounded in any discernible, specific factual basis or reliable scientific method.

          Dr. Bird takes a similar approach in rendering an opinion on Mr. Burnett’s lactic acid

   levels. Dr. Bird, in his report, describes a “dramatic” increase in lactic acid in the blood during any

   “strenuous activity or struggle” which causes blood acidity to drop “dramatically.” Id. Dr. Bird

   explains “[a]s the amount of lactic acid increases and the blood pH drops, the body’s natural

   response is to increase the rate and depth of breathing.” Id. This allows, according to Dr. Bird,

   carbon dioxide in the blood to be decreased through exhalation. Id. The decrease in blood carbon

   dioxide “partially offsets the increased acidity of blood and works to bring the pH back towards

   the normal range.” Id. at 6. Dr. Bird concludes “[b]y virtue of the restraint by the officers and the

   decreased ventilatory capability, Mr. Burnett was unable to maintain pCO2 and pH within values

   needed to avoid cardiac arrest.” Id.




   1
    Dr. Bird does not cite, and the Defendants are not aware of, any medical or laboratory testing
   demonstrating Mr. Burnett’s norepinephrine, epinephrine or blood potassium levels.
                                                     4
Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 5 of 7




          Dr. Bird’s report demonstrates the speculative nature of his opinion and the absence of

   critical data in support thereof. Dr. Bird describes a normal blood pH value of 7.40 and a normal

   range (7.35 to 7.45). Id. at 5. Critically missing in support of his opinion that “Mr. Burnett was

   unable to maintain . . . pH”, is a baseline pH value. The same is true for his conclusion that Mr.

   Burnett was unable to maintain pCO2 (carbon dioxide in the blood). Dr. Bird describes how a

   decrease in carbon dioxide can be determined—in his words, it is “measured by blood gas analysis

   as the partial pressure of carbon dioxide . . . .” Id. at 6. No blood gas analysis for Mr. Burnett was

   measured.

          The “illustrative” examples in medical literature noted by Dr. Bird drive home the point.

   In those studies, as relayed by Dr. Bird, “Ho et al. measured blood pH, lactate, and other

   biochemical marks during various exercises”; “In a subsequent study by Ho et al., they examined

   the pH, lactate, and catecholamine concentrations in volunteers . . . ”; “In the one fatality in which

   the patient was not intubated and ventilated . . . , and blood gas analysis immediately upon cardiac

   arrest revealed a pH of less than 6.8, pCO2 of more than 100 mm Hg, and a non-detectable serum

   bicarbonate.” Id. (emphasis added). Again, none of these markers exist for Mr. Burnett.

          Too, the studies themselves have questionable applicability to the underlying facts. See

   Dodge v. Cotter Corp., 328 F.3d at 1221. The Ho, et al. Acidosis and Catecholamine Evaluation

   drew from studies based on “hitting/ kicking a boxing heavy bag for 45 seconds or running a 150-

   meter sprint followed by jumping over a 44-inch wall.” Exhibit A, p. 6. No evidence suggests Mr.

   Burnett sprinted the equivalent of 150 meters or, said differently, over a football field and a half

   or over 9/10th of a mile. The lack of symmetry between the events of May 24, 2020 and punching/

   kicking a boxing heavy bag is also evident. Despite the lack of data and studies which lack the

   requisite fit, Dr. Bird concludes “[t]he physical exertion of Mr. Burnett during his active whole-



                                                     5
Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 6 of 7




   body restraint and beating by the officers certainly met or exceeded the exertion in these clinical

   studies.” Id. at 6 (emphasis added). Dr. Bird’s opinion is speculative and, because of the lack of

   data, is not derived by scientific method.

          For these reasons, the following conclusions—and reasoning for them—of Dr. Bird should

   be excluded:

          •   “Mr. Burnett certainly developed tremendously elevated concentrations of
              norepinephrine and epinephrine, placing him at risk for sudden death.” Id. at 5.

          •   “By virtue of the restraint by the officers and the decreased ventilatory
              capability, Mr. Burnett was unable to maintain pCO2 and pH within values
              needed to avoid cardiac arrest.” Id. at 6.

          •   “The physical exertion of Mr. Burnett during his active whole-body restraint
              and beating by the officers certainly met or exceeded the exertion in these
              clinical studies.” Id. at 6.

          •   “A metabolic acidosis due to his restraint and struggle killed Mr. Burnett.” Id.
              at 8.

          •   Any information underlying the medical/metabolic principles for the opinions
              listed above to discourage speculation by the jury as to their applicability in Mr.
              Burnett’s death.

          WHEREFORE, for the foregoing reasons, Defendants respectfully request exclusion of the

   opinions of Dr. Steven B. Bird as described above.



          Respectfully submitted this 22nd day of December, 2023.

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                                                    6
Case No. 1:21-cv-01708-WJM-MDB Document 79 filed 12/22/23 USDC Colorado pg 7 of 7




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                              CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on the 22nd day of December, 2023, I electronically filed the foregoing
   OPPOSED Fed. R. Evid. 702 MOTION TO EXCLUDE AND LIMIT THE TESTIMONY
   OF EXPERT STEVEN B. BIRD with the Clerk of the Court using the CM/ECF system which
   will send notification of such filing to the following via email:

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